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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

PEN AMERICAN CENTER, INC.,
et al.,

       Plaintiffs,

v.                                             Case No. 3:23cv10385-TKW-ZCB

ESCAMBIA COUNTY SCHOOL
BOARD,

      Defendant.
_________________________________/

                     ORDER LIFTING STAY OF DISCOVERY

      The Court stayed discovery in this case after taking a “preliminary

‘preliminary peek’” at Defendants’ motion to dismiss. See Doc. 35. However, the

Court also noted that it would “keep an open mind on the issue of whether discovery

should be stayed pending disposition of the motion to dismiss until … the Court has

an opportunity to take a more comprehensive (and fully informed) ‘preliminary

peek’ at the motion.” Id. at 2 n.1.

      The motion to dismiss is now fully briefed, and the Court has done a

preliminary review of the motion, Plaintiff’s response, the State of Florida’s amicus

brief, and the recently enacted Florida statute and rule. Based on that review, the

Court remains highly skeptical that Count Two states a legally viable claim or that
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there is a plausible Equal Protection claim under these facts, but the Court is now

less convinced that the amended complaint will be dismissed in its entirety.

       It is going to take a while for the Court to complete its review and rule on the

motion to dismiss (or set the motion for oral argument1) because there are motions

in other cases that ripened sooner and other more pressing matters that require the

Court’s attention first.       However, based on the Court’s current (albeit still

preliminary) assessment of the likely disposition of the motion, the stay of discovery

will be lifted so this case can move forward.

       Accordingly, it is ORDERED that:

       1.     The previously imposed stay of discovery is LIFTED.

       2.     The parties shall have 14 days from the date of this Order to file an

amended Rule 26(f) report and proposed case management schedule.

       DONE and ORDERED this 25th day of September, 2023.




                                            _________________________________
                                            T. KENT WETHERELL, II
                                            UNITED STATES DISTRICT JUDGE



       1
           Plaintiffs requested oral argument on the motion, see Doc. 40 at 50, but “[t]he Court
may—and most often does—rule on a motion without oral argument, even if a party requests oral
argument,” N.D. Fla. Loc. R. 7.1(K). If the Court determines that oral argument is necessary, it
will be set by separate notice in due course.


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